EXHIBIT H

Case 3:21-cv-00458-KDB-DSC Document 1378-9 Filed 03/21/22 Page 1 of 3
Received for Filing Oak’and County Clerk 5/15/2017 3:18 PM

ASSIGNMENT OF ENVIRONMENTAL LIABILITY TRANSFER AGREEMENT

THIS ASSIGNMENT OF ENVIRONMENTAL LIABILITY TRANSFER AGREEMENT (this
“Assignment”) is made and entered into as of June /$, 2013 by and between ENVIRONMENTAL
LIABILITY TRANSFER, INC., a Missouri corporation (“Assignor”), and TREX PROPERTIES LLC, a
Missouri limited liability company (“Assignee”).

WITNESSETH:

WHEREAS, Assignor, as purchaser, has entered into a certain Environmental Liability
Transfer Agreement with Detrex Corporation dated June lG_. 2013 (“Purchase Agreement”), whereby
Assignor has agreed to assume certain environmental liabilities and to purchase certain property of Detrex
Corporation, All capitalized terms used herein and not otherwise defined shall have the meaning set forth
in the Purchase Agreement.

WHEREAS, Assignor desires to assign to Assignee all of Assignor’s right, title and
interest with respect to the Purchase Agreement in accordance with the terms and conditions of this
Assignment.

NOW, THEREFORE, in consideration of the foregoing, One Dollar ($1.00) and other
good and valuable consideration, the receipt, adequacy and sufficiency of which are hereby
acknowledged:

I, Assignment and Assumption, Consistent with Section 15 of the Purchase Agreement,
Assignor does hereby convey, transfer, sel! and assign to Assignee all of Assignor’s right, title and
interest in and to the Purchase Agreement, and Assignee does hereby assume from Assignor all of
Assignor’s right, title and interest in and to the Purchase Agreement, and agrees to be bound thereby.
Additionally, Assignor hereby acknowledges and agrees that notwithstanding this Assignment, Assignor
remains joint and severally liable for all obligations and agreements of Purchaser (as defined in the
Purchase Agreement} under the Purchase Agreement, including without limitation, those that survive
Closing, including, without limitation, any indemnities and environmental remediation obligations of
Purchaser contained therein on a going forward basis.

2. Governing Law. This Agreement shall be governed by and construed in accordance with
the laws of the State of Michigan.

3. Successors and Assigns. This Agreement shall be binding upon and shall insure to the
benefit of the parties hereto and their respective successors and assigns.

4, Modifications. This Agreement may not be modified, altered or amended, or its terms
waived, except by an instrument in writing signed by the parties hereto.

[Signature Pages Follows]

COl-14 5294 v1

Case 3:21-cv-00458-KDB-DSC Document 1378-9 Filed 03/21/22 Page 2 of 3
Received for Filing Oakland County Clerk 5/15/2017 3:18 PM

IN WITNESS WHEREOF, Assignor and Assignee have executed this Agreement as of the date
first above written.

ASSIGNOR

ENVIRONMENTAL LIABILITY TRANSFER, INC., a
Missouri ne

ve x LL Fal oh

Title: Srey

ASSIGNEE

TREX PROPERTIES LLC, a Missouri limited liability

i THM Ko KURER TS
Title: LEEPER

COLI45291 fv]

Case 3:21-cv-00458-KDB-DSC Document 1378-9 Filed 03/21/22 Page 3 of 3
